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 1                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF PUERTO RICO
 2
 3        UNITED STATES OF AMERICA,
 4
          Plaintiff,
 5
          v.
 6                                                                  CRIMINAL.: 13-695 (GAG)
 7        [33] ABIMAEL BELLO-BURGOS,

 8        Defendant.
 9
                                  REPORT AND RECOMMENDATION
10                           RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
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     I.         Procedural Background
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                On September 23, 2013, a grand jury returned an indictment against Abimael Bello-Burgos,
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     (hereinafter referred to as “defendant”). ECF No. 3. The defendant has agreed to plead guilty to count
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     twenty-five of the indictment. Count twenty-five charges that on or about June 13, 2011, and June 15,
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     2011, in the District of Puerto Rico, and elsewhere, the defendant and others, knowingly and with the
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     intent to defraud, conducted several transactions using an unauthorized access device, to wit, one (1)
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     American Express Credit Card Account ending in “2009", belonging to another person, namely an
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     individual identified by the initials “J.N.F” and by such conduct carried out those transactions in order
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     to receive payment and anything of value, the aggregate value of which is equal to or greater than
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     $1,000.00, said transactions affecting interstate commerce, in that (a) purchases were carried out by a
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     co-defendant by the name of Efraín Medina-Rivera using his cellular telephone from inside the
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     Bayamón 501 Correctional Facility, and (b) the relevant electronic transactions were routed through
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     Home Depot’s server located in the State of Texas, all in violation of Title 18, United States Code,
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     Sections 1029(a)(2), 1029(c)(1)(A)(i).
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     II.        Consent to Proceed Before a Magistrate Judge
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                On January 25, 2016, while assisted by counsel, the defendant, by consent, appeared before the
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     undersigned in order to change his previous not guilty plea to a plea of guilty as to count twenty-five
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 2   of the indictment. In open court the defendant was questioned as to the purpose of the hearing being
 3   held and was advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries were
 4   to be conducted under oath and that it was expected that his answers would be truthful; (c) the potential
 5   consequences of lying under oath (such as a perjury charge); and (d) his right to have the change of plea
 6   proceedings presided by a district judge instead of a magistrate judge. The defendant was also
 7   explained the differences between the appointment and functions of the two. The defendant consented
 8   to proceed before the undersigned magistrate judge.
 9   III.     Proceedings Under Rule 11, Federal Rules of Criminal Procedure
10            A.      Rule 11(c)(1) Requirements
11                    Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
              guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
12            guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
              knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
13            guilty does so with an ‘understanding of the nature of the charge and consequences of
              his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting
14            McCarthy v. United States, 394 U.S. 459, 467 (1969)). [There are three core concerns
              in these proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3)
15            knowledge of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
              F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)).
16            United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
17            B. Admonishment of Constitutional Rights
18            To assure defendant’s understanding and awareness of his rights, defendant was advised of his
19   right:
20            1.   To remain silent at trial and be presumed innocent, since it is the government who has the
21   burden of proving his guilt beyond a reasonable doubt.
22            2.   To testify or not to testify at trial, and that no adverse inference could be made in relation
23   to his decision not to testify.
24            3.   To a speedy trial before a district judge and a jury, at which he would be entitled to see and
25   cross examine the government witnesses, present evidence on his behalf, and challenge the
26   government’s evidence.
27            4.   To have a unanimous verdict rendered by a jury of twelve persons which would have to be
28 convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.
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 2              5.   To use the subpoena power of the court to compel the attendance of witnesses.
 3              Upon listening to the defendant’s responses and observing his demeanor, it is determined that
 4 defendant is aware of his constitutional rights.
 5              C. Consequences of Pleading Guilty
 6              Upon advising defendant of his constitutional rights, he was further advised of the consequences
 7 of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having his
 8 guilty plea accepted by the court, he will be giving up the above rights and will be convicted solely on
 9 his statement that he is guilty.
10              In response to further questioning, defendant was explained and he understood that if convicted
11 on count twenty-five he will face the following penalties: a term of imprisonment of not more than ten
12 (10) years, a fine not greater than $250,000.00, and a term of supervised release of not more than three
13 (3) years.
14              The defendant was also explained what the supervised release term means and that if he violates
15 the conditions of supervised release, that privilege could be revoked and he could be required to serve
16 an additional term of imprisonment. He was also explained that parole has been abolished. In addition,
17 defendant was made aware that the court must impose a mandatory penalty assessment of one hundred
18 dollars ($100) per offense pursuant Title 18, United States Code, Section 3013(a).
19              D. “Type C” Plea Agreement1
20              The parties have entered into a written plea agreement that, upon being signed by the
21 government, defense attorney and defendant, was filed and made part of the record. Defendant was
22 clearly warned and recognized having understood that the court may accept or reject the plea agreement,
23 or may defer its decision whether to accept or reject the plea agreement until it has considered the pre-
24 sentence report. If the court rejects the plea agreement, the court will inform the parties of this fact and
25 afford the defendant an opportunity to withdraw the guilty plea and advise the defendant that if he
26 persists in a guilty plea, the disposition of the case may be less favorable to the defendant than the
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                      “Plea agreement” refers to the agreement and its supplement.
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 1                                                       4
 2 defendant contemplated in the plea agreement. Defendant acknowledged having understood these
 3 explanations and all the terms and conditions of the plea agreement.
 4           E. Government's Evidence (Basis in Fact)
 5           The government presented a summary of its evidence consistent with the version of facts of the
 6 plea agreement with which the defendant concurred. Accordingly, it is determined that there is a basis
 7 in fact and evidence to establish all the elements of the offense charged.
 8           F. Voluntariness
 9           The defendant accepted that no threats had been made to induce him to plead guilty and that he
10 did not feel pressured to plead guilty.
11           G. Waiver of Appeal
12           The defendant was explained, and he understood, that if the court accepts the plea agreement and
13 sentences him to the agreed-upon specific sentence, or agreed-upon sentencing range, the defendant
14 agrees to waive and permanently surrender his right to appeal the judgment and sentence in this case.
15 IV.       Conclusion
16           The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of
17 Criminal Procedure, and has entered a plea of guilty as to count twenty-five of the indictment. After
18 cautioning and examining the defendant under oath and in open court, concerning each of the subject
19 matters mentioned in Rule 11, as described in the preceding sections, I find that defendant is competent
20 to enter this guilty plea, is aware of the nature of the offense charged and the maximum statutory
21 penalties that the same carries, understands that the charge is supported by the government’s evidence,
22 has admitted to every element of the offense charged, and has done so in an intelligent and voluntary
23 manner with full knowledge of the consequences of his guilty plea. Therefore, I recommend that the
24 court accept the guilty plea of the defendant and that the defendant be adjudged guilty as to count twenty-
25 five.
26           This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B). Any objections
27 to the same must be specific and must be filed with the Clerk of Court within fourteen (14) days of its
28 receipt. Fed. R. Civ. P. 72(b). Failure to timely file specific objections to the report and recommendation
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 2 is a waiver of the right to review by the district court. United States v. Valencia-Copete, 792 F.2d 4 (1st
 3 Cir. 1986).
 4          SO RECOMMENDED.
 5          In San Juan, Puerto Rico, this 4th day of February, 2016.
 6                                                 s/Marcos E. López
                                                   U.S. MAGISTRATE JUDGE
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